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                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF MARYLAND


 LESTER LEE,

           PLAINTIFF

 v.
                                                                      Case No. 8:24-cv-01205-TJS
 BROOKSIDE PARK CONDOMINIUM,
 INC., METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY AND LAMONT
 SAVOY

           DEFENDANTS



   DEFENDANTS BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka
  MCM, INC.), AND RAMMY AZOULAY’S CONSENT TO HAVE THE CASE HEARD
                BY THE UNITED STATES MAGISTRATE JUDGE



          Defendants BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka

MCM, INC.), AND RAMMY AZOULAY (hereinafter “BPC Defendants” or “Defendant”), by

and through undersigned counsel, hereby respectfully Consent to Have the Case Heard By a

Magistrate.

          1.        Pursuant to Standing Order 2018-04, Defendant hereby consents to having the case

heard by the United States Magistrate Judge.

          2.        Further pursuant to the Show Cause Order, entered on May 30, 2024, Defendant

respectfully requests that the Show Cause Order be Vacated, upon Defendant Consent to having

the case heard by the United States Magistrate Judge.



Respectfully submitted,



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/s/Anthony D. Dwyer ______________
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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 12 day of June, 2024, copies of the foregoing

DEFENDANTS BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka MCM,

INC.), AND RAMMY AZOULAY’S CONSENT TO HAVE THE CASE HEARD BY THE

UNITED STATES MAGISTRATE JUDGE were served by first-class mail, postage prepaid to:


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                                              /s/Anthony D. Dwyer
                                              Anthony D. Dwyer (415575)
